                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

Brian Boshell; Jason Boutwell; Devon
Love; Phillip Rainge; Cortez Shelby;
Brent Hilley; Anthony Brown; Jerry Duke;    Case No. 19-cv-1983
Joe Aloi; Stephen Knight; Dustin Thull;
Jason Hoffinan; Billy McConnell; William
Woodson; Scott Reed; Marquis Harrell;       RULE 7.1 CORPORATE
John Morris; Jose Santiago; Johnny          DISCLOSURE STATEMENT OF
Carreker; Floyd Loftis; Lukeldic Harris;    DEFENDANT 3M COMPANY
Quentin Nathaniel; Redmond Berry; John
Cole; James Eskridge; Francisco Pizarro;
Danny Rix; Stephen Turner; Thomas
Washington; Joshua Holmes; Stephen
Swix; Garrett Bitts; Monroe Jackson;
Thomas Gonzales; Christopher Calloway;
Michael Leger; Jason Hurst; Javaris York;
Christopher Vincent; Gecarian Holmes;
Jafarri Brown; John Jackson; Marvin
Elder; Robert Dixon; Damian Youman;
Frank Roberts; Stephen Keith; Dempsie
Goode; Cedric Geter; Kenneth Mack; Paul
Moore; Anthony Scrimo; Keefe Preast;
Seth Lemonds; Raymond Hyman; Edward
Futch; Osiel Cespedes; Cory Christen;
Rodrick Butler; Joel Bell; Jordan
Bowersox; Anthony Davis; Ross
Fitzsimmons; Eddie Frost; Mitchell
Grimmett; Frankie Gutierrez; Roderick
Harris; Joseph Jackson; Jonathan
Kirkman; William Meeks; Ced Miller;
Steven Morris; Gregory Payne; Ryan
Pulley; Yalik Roulhac; Joshua Scandrett;
Daniel Shelly; Christopher Smith; James
Spann; Alexander Umstead; Jeffrey
White; Keith Aiken; James Barnes; Corey
Crane; Eddie Dennis; Troy Evans;
Mitchell Faircloth; Kevin Hayes; Brian
Heather; William Henry; Jason Hice; and
Bryan Yates,

            Plaintiffs,
 v.

 3M Company and
 Aearo Technologies LLC,

              Defendants.



      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant 3M

Company states that it has no parent corporation and there is no publicly held corporation

that holds 10% or more of its stock.


Dated: July 26, 2019                            s/ Benjamin W. Hulse
                                                Jerry W. Blackwell, Minn. Bar #186867
                                                Benjamin W. Hulse, Minn. Bar #0390952
                                                S. Jamal Faleel, Minn. Bar #0320626
                                                BLACKWELL BURKE P.A.
                                                431 South Seventh Street, Suite 2500
                                                Minneapolis, MN 55415
                                                Tel: (612) 343-3200
                                                Fax: (612) 343-3205
                                                Email: blackwell@blackwellburke.com
                                                        bhulse@blackwellburke.com
                                                        jfaleel@blackwellburke.com

                                                Counsel for Defendant 3M Company
